Case 2:04-cr-20304-.]PI\/| Document 90 Filed 07/13/05 Page 1 of 2 - Page|D 135

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IN THE UNITED sTATEs DIsTRIcT couRT
FoR THE wEsTERN DISTRICT oF 'I'Ez\u\r'i:ss%q`-j JUL 13 m\g= 30

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UNITED STATES OF AMERICA,
Plaintiff,
vB.

No. 04-20304M1

MARSHALL HENDERSON,

Defendant.

 

ORDER DENYING GOVERNMENT’S MOTION TO REVOKE BOND

 

On July 7, 2005, the defendant, Marshall Henderson, appeared
in court for an initial appearance on a charge of violation of the
terms and conditions of his pretrial release. The government
requested his bond be revoked. The defendant was advised of his
right to have a bond revocation hearing.

On July 12, 2005, a bond revocation hearing was held. For the
reasons stated at the hearing, the petition to revoke bond is
denied.

IT Is so oRDERED this 12th day of July, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket sheet Jn compliance

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UNITED sTEATsDTlsRICT COURT - WERSTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

